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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


 JOHN UTESCH, Individually and On Behalf of
 All Others Similarly Situated,

                               Plaintiff,               Case No. 2:16-cv-05932-WB

        v.

 LANNETT COMPANY, INC., ARTHUR P.
 BEDROSIAN, and MARTIN P. GALVAN,                       Judge Wendy Beetlestone

                               Defendants.


                       STIPULATION AND SCHEDULING ORDER

       WHEREAS, on September 5, 2019, the Court entered a Scheduling Order providing that

discovery between the parties shall be stayed for a period of four (4) months beginning on the date

on which Defendant Lannett Company, Inc. (“Lannett”) produces copies of the documents that

Lannett previously produced to the State of Connecticut Office of the Attorney General (the

“Attorneys General Production”), setting a schedule for this case through the submission of reply

briefs in support of any dispositive motions, and ordering the parties to confer regarding the need

for the Court to revise any of the deadlines set forth in that Scheduling Order [Dkt. #110]

(hereinafter, the “September 2019 Scheduling Order”);

       WHEREAS, on October 7, 2019, in accordance with the September 2019 Scheduling

Order, Defendants produced the Attorneys General Production;

       WHEREAS, after the end of the four-month stay period following the Attorneys General

Production, in accordance with the September 2019 Scheduling Order, the parties conferred

regarding the deadlines set forth in the September 2019 Scheduling Order;

       WHEREAS, the Parties held a telephonic hearing with the Court on May 1, 2020 to discuss

the case schedule;
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       IT IS HEREBY STIPULATED AND AGREED, by and among lead counsel to the

putative class and counsel for Defendants that, subject to this Court’s approval, the

September 2019 Scheduling Order shall be amended and/or supplemented as follows:

       1.       Any motion to join other parties, or to amend the pleadings in this action pursuant

to Fed. R. Civ. P. 15(a)(2), shall be filed on or before August 1, 2020.

       2.       Absent further order of this Court, the parties must not seek and must not respond

to any discovery request (e.g., an interrogatory, a request for production of documents, a subpoena,

or a notice of deposition) seeking information about the criminal investigation that the Antitrust

Division of the U.S. Department of Justice (the “Department of Justice”) is conducting into the

generic pharmaceuticals industry.

       3.       Any party or other person responding to a discovery request (e.g., an interrogatory,

a request for production of documents, a subpoena, or a notice of deposition) (a “Responding

Person”) must not disclose what documents or other information has been provided to the

Department of Justice in the course of its criminal investigation into the general pharmaceuticals

industry, provided nothing in this Paragraph prohibits a Responding Person from producing

documents or other information that previously had been provided to the Department of Justice so

long as such production is made in a manner that does not indicate whether the documents or other

information being produced previously was provided to the Department of Justice.

       4.       Class Certification.

                a.     Plaintiffs’ motion for class certification shall be filed by September 1,

                       2020.

                b.     Defendants’ opposition to Plaintiffs’ motion for class certification shall be

                       filed by October 26, 2020.



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    c.    Plaintiffs’ reply in support of class certification shall be filed by

          December 22, 2020.

    d.    Plaintiffs will make best efforts to comply with any obligations under Fed.

          R. Civ. P. 34 to complete by September 1, 2020, the production of non-

          privileged documents related to class certification that are responsive to

          Defendants’ currently pending document requests, it being understood and

          acknowledged by both parties that Plaintiffs will make best efforts to begin

          producing non-privileged documents related to class certification and

          responsive to Defendants’ currently pending document requests before

          September 1, 2020, and proceed on a rolling basis. This deadline does not

          limit Plaintiffs’ ability to supplement their production in a timely manner if

          Plaintiffs learn after the September 1, 2020 deadline that there are additional

          non-privileged documents related to class certification that are responsive

          to Defendants’ requests.        In the event that Plaintiffs produce after

          September 1, 2020, non-privileged documents related to class certification

          that are responsive to Defendants’ currently pending document requests, the

          deadlines for Defendants’ opposition to Plaintiffs’ motion for class

          certification (and Plaintiffs’ reply in support of class certification) shall each

          be extended by the amount of time between September 1, 2020 and the date

          by which Plaintiffs represent that they have completed their production of

          non-privileged documents related to class certification and responsive to

          Defendants’ currently pending document requests.




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    e.    Plaintiffs will make best efforts to be available for deposition on issues

          related to class certification on mutually agreeable dates no later than

          October 1, 2020. In the event that Plaintiffs are unable to make themselves

          available for deposition on mutually agreeable dates prior to October 1,

          2020, deadlines for Defendants’ opposition to Plaintiffs’ motion for class

          certification (and Plaintiffs’ reply in support of class certification) shall each

          be extended by the amount of time between October 1, 2020 and the later

          of the dates on which the class certification depositions of University of

          Puerto Rico Retirement System and Ironworkers Locals 40, 361 & 417

          Union Security Funds occur.

    f.    Plaintiffs will serve the report of any expert offered in support of their

          motion for class certification, and any other expert disclosures required

          pursuant to Fed. R. Civ. P. 26, concurrently with the filing of their motion

          for class certification. Defendants may depose and/or seek discovery from

          any expert offered in support of Plaintiffs’ motion for class certification at

          any time prior to the deadline for Defendants to file their opposition to

          Plaintiffs’ motion for class certification.

    g.    Plaintiffs will make best efforts to make available for deposition on

          mutually agreeable dates no later than October 1, 2020 any expert who

          submits a report in support of Plaintiffs’ motion for class certification. In

          the event Plaintiffs are unable to make any such expert available for

          deposition on mutually agreeable dates prior to October 1, 2020, deadlines

          for Defendants’ opposition to Plaintiffs’ motion for class certification (and



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          Plaintiffs’ reply in support of class certification) shall each be extended by

          the amount of time between October 1, 2020 and when any such expert is

          deposed.

    h.    Defendants will serve the report of any expert offered in opposition to

          Plaintiffs’ motion for class certification, and any other expert disclosures

          required pursuant to Fed. R. Civ. P. 26, concurrently with the filing of their

          opposition to Plaintiffs’ motion for class certification.       Plaintiffs may

          depose and/or seek discovery from any expert offered in opposition to

          Plaintiffs’ motion for class certification at any time prior to the deadline for

          Plaintiffs to file their reply.

    i.    Defendants will make best efforts to make available for deposition on

          mutually agreeable dates no later than December 1, 2020 any expert who

          submits a report in support of Defendants’ opposition to Plaintiffs’ motion

          for class certification. In the event Defendants are unable to make any such

          expert available for deposition on mutually agreeable dates prior to

          December 1, 2020, the deadline for Plaintiffs’ reply in support of class

          certification shall be extended by the amount of time between December 1,

          2020 and when any such expert is deposed.

    j.    Any deadlines in paragraphs 4(d) through 4(i) may be extended by the

          written consent of all parties without application to the Court.           Any

          deadlines in paragraphs 4(a) through 4(c) may be extended by up to sixty

          (60) days without application to the Court by either the written consent of




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                         all parties, or by operation of paragraphs 4(d), 4(e), 4(g), and 4(i) for the

                         amount of time specified in such paragraphs.

                  k.     In the event that any of the dates in paragraphs 4(a) through 4(c) are

                         extended either by written consent of all parties pursuant to paragraph 4(j),

                         or by operation of paragraphs 4(d), 4(e), 4(g), and 4(i), the Parties shall

                         promptly inform the Court of such occurrence and submit a proposed

                         revised scheduling order.

         5.       Within thirty (30) days of a decision on Plaintiffs’ motion for class certification,

the parties shall confer with one another regarding the need for the Court to revise this scheduling

order.

         6.       All fact discovery shall be completed on or before April 15, 2021.

         7.       Settlement. Counsel for all parties must appear before Magistrate Judge Lloret to

discuss settlement on a date mutually agreed upon by the parties to be determined following

relaxation of the Covid-19 restrictions/limitations but no later than May 3, 2021.

         8.       Merits Expert Discovery.

                  a.     All expert discovery, including expert depositions of rebuttal experts, shall

                         be completed on or before August 4, 2021.

                  b.     Expert reports and all other expert disclosures required pursuant to Fed. R.

                         Civ. P. 26 shall be served by the parties with respect to issues for which

                         they bear the burden of proof on or before April 26, 2021.

                  c.     Expert witnesses described in Paragraph 8(b) herein shall be made available

                         for deposition on mutually agreeable dates.




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                d.     Rebuttal expert reports and all other expert disclosures required pursuant to

                       Fed. R. Civ. P. 26 shall be served on or before July 7, 2021.

                e.     Rebuttal expert witnesses described in Paragraph 8(d) herein shall be made

                       available for deposition on mutually agreeable dates.

                f.     The deadlines in paragraphs 8(b) and (d) may be extended by the written

                       consent of all parties without application to the Court, provided that expert

                       discovery is completed by August 4, 2021.

       9.       All motions and applications shall be governed by the Court’s Policies and

Procedures.

       10.      Dispositive Motions.

                a.     Any dispositive motions shall be filed on or before September 23, 2021.

                b.     Responses in opposition to any dispositive motions shall be filed on or

                       before November 3, 2021.

                c.     Replies in support of any dispositive motions shall be filed on or before

                       December 22, 2021.

       11.      Within thirty (30) days of a decision on any dispositive motion, the parties shall

confer and submit to the Court Final Pretrial Memoranda consistent with this Court’s Policies and

Procedures and Local Rule of Civil Procedure 16.1(c).

                a.     Any motions in limine shall be filed on or before the date on which the

                       parties’ Final Pretrial Memoranda are due.

                b.     If this action is to be tried before a jury, proposed voir dire, jury instructions,

                       and verdict forms shall be filed on or before the date on which the parties’

                       Final Pretrial Memoranda are due. Counsel are required to meet and confer



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                       on a joint submission of proposed jury instructions and verdict forms, noting

                       any points of disagreement in the joint submission.

               c.      If this action is to be tried to the Court, proposed findings of fact and

                       conclusions of law should be submitted on or before the Final Pretrial

                       Memoranda due date.

       12.     This Order supersedes and replaces all other scheduling orders entered in this case,

including the September 2019 Scheduling Order, and this Order may not be modified or the dates

herein extended, except by further Order of this Court for good cause shown. Any modification

or extension of the dates set forth herein (except as provided in Paragraphs 4(d), 4(e), 4(g), 4(i),

and 4(j), and 8(f)) shall be sought by a written application to the Court in accordance with the

Court’s Individual Practices.




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  ___/s/ David M. Promisloff_____________         __/s/ Ian M. Comisky____________________

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      SO ORDERED.                          /s/Wendy Beetlestone, J.


                                              WENDY BEETLESTONE, J.



Dated: 5/05/2020




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